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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
ARRAY HOLDINGS, INC., §
§
PLAINTIFF, §
§ CAUSE NO. 12-cv-366
v. §
§
SAFOCO, INC., § JURY TRlAL REQUESTED
§
DEFENDANT. §

ORDER GRANTING JolNT MoTIoN To REINSTATE CASE
AND FoR ENTRY oF ORDER DISMISSlNG CASE WITH PREJUD!CE

On this day, the Court, having considered the Joint Motion to Reinstate Case and for Entry
of Order Dismissing Case With Prejudice filed by Array Holdings, lnc., and Safoco, Inc., and after
considering the pleadings, evidence, and arguments of counsel finds that the motion should be
GRANTED. lt is, therefore,

ORDERED that the Joint Motion to Reinstate Case and for Entry of Order Dismissing
Case With Prejudice is GRANTED, that the above-styled and number case is hereby reinstated for
the limited of purpose of entering this Order, and that all claims between Array Holdings, Inc., and
Safoco, Inc., are DISMISSED with prejudice to the rights of the parties.

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SIGNED this /é %yof October, 2013.

/ EWIN<ZSi/ERLEIN JR
UNITED sTATEs DISTRICT JUDGE

 

 

